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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF LOUISIANA

__________________________________________
                                          )                MDL No. 2179
In re: OIL SPILL by the OIL RIG           )
       “DEEPWATER HORIZON” in the         )
       GULF OF MEXICO, on April 20, 2010  )                Section “J”
                                          )
This Document Relates to:                 )                Judge Barbier
Civil No. 2:10-cv-01497                   )                Magistrate Judge Shushan
__________________________________________)


                       DECLARATION OF J. KEITH COUVILLION

       I, J. Keith Couvillion, hereby attest as follows:

       1.      I am over 21 years of age and competent to make this declaration. The facts set

forth herein are based on my personal knowledge gained in the course of my business activities.

                                 Basis for Personal Knowledge

       2.      I am currently employed by Chevron U.S.A., Inc. (“Chevron”), in the position of

Deepwater Land Manager. I have worked for either Texaco Inc. or Chevron for the past 30

years. In the last 24 years of my career I’ve worked in various capacities in exploration and

production operations in the Gulf of Mexico. In my current position with Chevron, I have

acquired knowledge regarding Chevron’s oil and gas holdings and activities in the Gulf of

Mexico.

                           Chevron’s Interests in the Gulf of Mexico

       3.      Chevron has for many decades engaged in oil and gas exploration and production

activities on the Outer Continental Shelf of the Gulf of Mexico. Chevron is one of the largest

leaseholders and one of the largest producers in the Gulf of Mexico. Chevron’s leasehold

includes interests in over 600 leases in the Gulf of Mexico, over 400 of which are located in

water depths greater than 1,000 feet. Chevron has over 600 platforms in the Gulf.
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       4.      In order to engage in oil and gas production activities in federal jurisdictional

waters of the Gulf, Chevron has acquired numerous leases through a sealed bid process managed

by the Department of the Interior and through transactions with other operators. After acquiring

a lease Chevron must submit to the Department of the Interior, for its review and approval,

various applications and permits allowing Chevron to engage in exploration and development

activities on the lease. Without these approvals, Chevron is not allowed to drill and develop the

leases it has acquired. Chevron’s exploration and development activities have required Chevron

to invest hundreds of millions of dollars to purchase the necessary leases, obtain the necessary

approvals, and engage in the necessary exploration and development operations.

       5.      Chevron has been a successful bidder in most of the Gulf of Mexico lease sales

that have occurred to date as part of the Department of the Interior’s 2007–2012 Outer

Continental Shelf Oil and Gas Leasing Program. Under this current Leasing Program, Chevron

has acquired an interest in more than 200 Outer Continental Shelf leases in the Gulf of Mexico

paying to the federal government over $700 million in lease bonuses. To maintain its leases in

the Gulf of Mexico that are not currently producing, Chevron pays the government over $12

million in lease rentals each year.

                        Chevron’s Interests in GRN’s Requested Relief

       6.      NTL 2008-G04 is a Notice to Lessees and Operators that addressed information

that operators must include in exploration plans and development operations coordination

documents that operators submit to the Department of the Interior for approval to engage in

exploration and development activities on the Outer Continental Shelf in the Gulf of Mexico.

NTL 2008-G04 built upon other informational guidelines for such exploration plans and

development operations coordination documents, including the Blowout Scenario disclosure and




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Worst Case Oil Spill response requirements for exploration plans contained in

30 CFR § 250.213(g) and 30 CFR § 250.219(a)(2)(v). The effective date of NTL 2008-G04 was

May 1, 2008.

       7.      In this lawsuit, Gulf Restoration Network, Inc. and Sierra Club, Inc. (collectively,

“GRN”) seek to enjoin the application of certain provisions of NTL 2008-G04 that GRN has

characterized as exemptions from the blowout scenario and worst case discharge scenario

informational requirements contained in 30 CFR § 250.213(g) and 30 CFR § 250.219(a)(2)(v).

In addition, GRN requests an order requiring the Department of the Interior to review all

deepwater permits granted under NTL 2008-G04.

       8.      GRN’s request that the Court order the Department of the Interior to review

exploration plans and permits previously granted under NTL 2008-G04 poses a significant

financial threat to Chevron. Since May 1, 2008, Chevron has submitted and been granted by the

Department of the Interior over 30 Gulf of Mexico exploration plans, including in deepwater, all

of which complied with the Department of the Interior’s regulations and NTL 2008-G04. Those

approvals include the Department of the Interior’s approvals of the following plans:

       a.      Exploration Plan Control No. R-4838, submitted on June 16, 2008, and approved
               on July 15, 2008;

       b.      Exploration Plan Control No. R-4893, submitted on November 12, 2008, and
               approved on December 30, 2008;

       c.      Exploration Plan Control No. R-5004, submitted on January 20, 2010, and
               approved on April 7, 2010;

       d.      Exploration Plan Control No. S-7399, submitted on March 19, 2010, and
               approved on April 16, 2010;

       e.      Exploration Plan Control No. N-9366, submitted on April 1, 2009, and approved
               on May 15, 2009;




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